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                                                     U.S. Department of Justice
                                                     Channing Phillips
                                                     Acting United States Attorney
                                                     District of Columbia


                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530
                                                     July 28, 2021

VIA USAFX
David Bos, Esq.
David_bos@fd.org
Federal Defenders



                Re:   Discovery Production #1 Letter
                      United States v. Marcus Douglas; 21-mj-538
Dear Counsel:

      I am writing to memorialize the production of the following materials in discovery:

      On USAFX:

          •     Douglas WF-FO-202107231-WF_FO_GO38B.mp4
          •     DSC_0010.JPG
          •     DSC_0012.JPG
          •     DSC_0013.JPG
          •     DSC_0015.JPG
          •     DSC_0016.JPG
          •     DSC_0017.JPG
          •     DSC_0018.JPG
          •     DSC_0019.JPG
          •     DSC_0020.JPG
          •     DSC_0021.JPG
          •     DSC_0022.JPG
          •     DSC_0023.JPG
          •     DSC_0024.JPG
          •     DSC_0025.JPG
          •     DSC_0026.JPG
          •     DSC_0027.JPG
          •     DSC_0028.JPG
          •     DSC_0029.JPG

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           •   DSC_0030.JPG
           •   DSC_0031.JPG
           •   DSC_0032.JPG
           •   DSC_0033.JPG
           •   DSC_0034.JPG
           •   DSC_0035.JPG
           •   Report (REDACTED).pdf
           •   signed-Prot. Order (21mj538, Douglas).pdf

        I will continue to provide you with ongoing discovery as appropriate, and we will note in
the defendant’s file the date this discovery was sent to you. The Government hereby requests
reciprocal discovery pursuant to Rule 16(b)(1) of the Federal Rules of Criminal Procedure.

       Should you have any questions about these materials, please do not hesitate to contact
me.
                                                    Sincerely,

                                                    /s/ /Amy E. Larson
                                                    Amy E. Larson
                                                    Assistant United States Attorney
                                                    Phone: (202) 252-7863
                                                    Email: Amy.Larson2@usdoj.gov




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